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Form dna01−corpstmt (Rev. 5/16)

                                  UNITED STATES BANKRUPTCY COURT
                                      Southern District of Mississippi

IN RE:
          John M. Martin                                                                  CASE NO. 23−51453−KMS
                                                                                                          CHAPTER 7

10,052, LLC                                                                                              PLAINTIFF

VS.                                                                              ADV. PROC. NO. 23−06041−KMS


John M. Martin                                                                                         DEFENDANT


To: Robert A. Byrd


                                    Notice to File Corporate Ownership Statement

         Pursuant to Fed. R. Bankr. P. 7007.1 any corporation that is a party to an adversary proceeding, other than the
debtor or a governmental unit, shall file a corporate ownership statement that identifies any corporation, other than a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation's equity interests, or
states that there are no such entities to report.

       10,052, LLC, a corporation and a party in the above styled adversary proceeding, has failed to submit the
required Corporate Ownership Statement.

       You are hereby notified that failure to file a Corporate Ownership Statement, on or before December 27,
2023, may result in a show cause hearing, at which the corporation will be required to appear through counsel, to
show cause why sanctions should not be imposed for failure to comply with Fed. R. Bankr. P. 7007.1.

          Dated: December 21, 2023                                      Danny L. Miller, Clerk of Court
                                                                        U.S. Bankruptcy Court
                                                                        Dan M. Russell, Jr. U.S. Courthouse
                                                                        2012 15th Street, Suite 244
                                                                        Gulfport, MS 39501
                                                                        228−563−1790
